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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

 UNITED STATES OF AMERICA

                    - against -
                                                                  19 CR 286 (S-3) (AMD)
 ROBERT SYLVESTER KELLY,
     also known as “R. Kelly,”
                                                                  VERDICT SHEET
                             Defendant.

 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X



                                              AS TO COUNT ONE
                                                 Racketeering

How do you find the defendant?


        Guilty _________             Not Guilty _________


If you answered “Guilty” as to Count One, indicate whether the following Racketeering Acts
were proved beyond a reasonable doubt. If you answered “Not Guilty,” proceed to Count
Two.

        Racketeering Act 1 (Bribery)

        Proved _________             Not Proved _________


        Racketeering Act 2 (Sexual Exploitation of a Child – Jane Doe #2)

        Proved _________             Not Proved _________


        Racketeering Act 3 (Kidnapping – Jane Doe #3)

        Proved _________             Not Proved _________
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      Racketeering Act 4 (Mann Act Violations – Jane Doe #3)

      A.     What is your verdict with respect to Racketeering Act 4(A) (Transportation)?

             Proved _________     Not Proved _________

      B.     What is your verdict with respect to Racketeering Act 4(B) (Coercion or
             Enticement)?

             Proved _________     Not Proved _________


      If you answered “Proved” as to either Racketeering Act 4(A) or 4(B) or both, please
      answer the following question. If you answered “Not Proved,” proceed to the next
      Racketeering Act.

      Please indicate which of the statutes the sexual activity violated. You should check
      all that apply, but need to at least check one.

      _________     Sexual activity during the commission of a kidnapping of Jane Doe #3
                    (violation of Illinois Criminal Code Section 5/12-16(a)(6))
      _________     Sexual activity as part of the course of delivery of a controlled
                    substance to Jane Doe #3 (violation of Illinois Criminal Code Section
                    5/12-16(a)(7))
      _________     Sexual activity where Jane Doe #3 was unable to give knowing consent
                    (violation of Illinois Criminal Code Section 5/12-15(a)(2))


      Racketeering Act 5 (Mann Act Violation – Jane Doe #4)

      Proved _________     Not Proved _________

      Racketeering Act 6 (Forced Labor – Jane Doe #4)

      Proved _________     Not Proved _________


      Racketeering Act 7 (Sexual Exploitation of a Child – Jane Doe #4)

      Proved _________     Not Proved _________




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      Racketeering Act 8 (Mann Act Violation – Jane Doe #5)

      A.    What is your verdict with respect to Racketeering Act 8(A) (Transportation)?

            Proved _________     Not Proved _________

      B.    What is your verdict with respect to Racketeering Act 8(B) (Coercion or
            Enticement)?

            Proved _________     Not Proved _________


      Racketeering Act 9 (Mann Act – Jane Doe #5)

      A.    What is your verdict with respect to Racketeering Act 9(A) (Transportation)?

            Proved _________     Not Proved _________

      B.    What is your verdict with respect to Racketeering Act 9(B) (Coercion or
            Enticement)?

            Proved _________     Not Proved _________

      C.    What is your verdict with respect to Racketeering Act 9(C) (Coercion or
            Enticement of Minor)?

            Proved _________     Not Proved _________


      D.    What is your verdict with respect to Racketeering Act 9(D) (Transportation of
            Minor)?

            Proved _________     Not Proved _________


      Racketeering Act 10 (Sexual Exploitation of a Child – Jane Doe #5)

      Proved _________    Not Proved _________


      Racketeering Act 11 (Forced Labor – Jane Doe #5)

      Proved _________    Not Proved _________


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      Racketeering Act 12 (Mann Act Violations – Jane Doe #6)

      A.     What is your verdict with respect to Racketeering Act 12(A) (Transportation)?

             Proved _________      Not Proved _________

      B.     What is your verdict with respect to Racketeering Act 12(B) (Coercion or
             Enticement)?

             Proved _________      Not Proved _________

      If you answered “Proved” as to either Racketeering Act 12(A) or 12(B) or both,
      please answer the following question. If you answered “Not Proved,” proceed to the
      next Racketeering Act.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both


      Racketeering Act 13 (Forced Labor – Jane Doe #6)

      Proved _________      Not Proved _________


      Racketeering Act 14 (Mann Act – Jane Doe #6)

A.    What is your verdict with respect to Racketeering Act 14(A)?

      Proved _________      Not Proved _________

B.    What is your verdict with respect to Racketeering Act 14(B)?

      Proved _________      Not Proved _________




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      If you answered “Proved” as to either Racketeering Act 14(A) or 14(B) or both,
      please answer the following question. If you answered “Not Proved,” proceed to the
      next Racketeering Act.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both


                               AS TO COUNT TWO
                        Mann Act Transportation – Jane Doe #5

How do you find the defendant?

      Guilty _________      Not Guilty _________


                             AS TO COUNT THREE
                   Mann Act Coercion and Enticement – Jane Doe #5

How do you find the defendant?

      Guilty _________      Not Guilty _________


                              AS TO COUNT FOUR
                     Mann Act Coercion of a Minor – Jane Doe #5

How do you find the defendant?

      Guilty _________      Not Guilty _________


                              AS TO COUNT FIVE
                  Mann Act Transportation of a Minor – Jane Doe #5

How do you find the defendant?

      Guilty _________      Not Guilty _________



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                                AS TO COUNT SIX
                        Mann Act Transportation – Jane Doe #6

How do you find the defendant?

      Guilty _________      Not Guilty _________

      If you answered “Guilty” as to Count Six, please answer the following question. If
      you answered “Not Guilty,” proceed to the next Count.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both



                              AS TO COUNT SEVEN
                   Mann Act Coercion and Enticement – Jane Doe #6

How do you find the defendant?

      Guilty _________      Not Guilty _________

      If you answered “Guilty” as to Count Seven, please answer the following question.
      If you answered “Not Guilty,” proceed to the next Count.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both




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                              AS TO COUNT EIGHT
                        Mann Act Transportation – Jane Doe #6

How do you find the defendant?

      Guilty _________      Not Guilty _________

      If you answered “Guilty” as to Count Eight, please answer the following question. If
      you answered “Not Guilty,” proceed to the next Count.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both


                               AS TO COUNT NINE
                   Mann Act Coercion and Enticement – Jane Doe #6

How do you find the defendant?

      Guilty _________      Not Guilty _________

      If you answered “Guilty” as to Count Nine, please answer the following question. If
      you answered “Not Guilty,” proceed to the next Count.

      Please indicate which of the statutes the sexual activity violated:

      _________ Reckless endangerment (violation of N.Y. Penal Law § 120.20)
      _________ Knowing exposure of infectious venereal disease (violation of N.Y.
                Public Health Law § 2307)
      _________ Both




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